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1     HEATHER E. WILLIAMS, #122664
      Federal Defender
2     CAROLYN M. WIGGIN, #182732
      Assistant Federal Defender
3     801 I Street, 3rd Floor
      Sacramento, CA 95814
4     Telephone: (916) 498-5700
      carolyn_wiggin@fd.org
5
6     Attorney for Movant-Defendant
      DELESHIA MONET GILBERT
7
8
                                      UNITED STATES DISTRICT COURT
9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                       )    Case No. 2:03-cr-0371-MCE-EFB-16
                                                      )
12                            Plaintiff,              )
                                                      )    STIPULATION AND [PROPOSED] ORDER
13            vs.                                     )    TO EXTEND TIME TO FILE OBJECTIONS
                                                      )    TO THE MAGISTRATE JUDGE’S FINDINGS
14    DELESHIA MONET GILBERT,                         )    AND RECOMMENDATIONS
                                                      )
15                            Defendant.              )    Judge: Hon. Edmund F. Brennan
                                                      )    United States Magistrate Judge
16                                                    )
17
              IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
18
      Attorney, through Michele M. Beckwith, Assistant United States Attorney, attorneys for
19
      Respondent-Plaintiff United States of America, and Heather Williams, Federal Defender,
20
      through Assistant Federal Defender, Carolyn M. Wiggin, attorneys for Movant-Defendant
21
      Deleshia Monet Gilbert, that Objections to the Magistrate Judge’s Findings and
22
      Recommendations, which are now due no later than July 2, 2018, be due no later than August 1,
23
      2018.
24
              This extension of time is necessary given the complexity of this case and Ms. Gilbert’s
25
      counsel’s schedule in the next month.
26
27
28

       Stipulation and Order to Extend Time to File       -1-
       Objections to Findings and Recommendations
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1     DATED: June 19, 2018                            HEATHER E. WILLIAMS
2                                                     Federal Defender
3                                                     /s/ Carolyn M. Wiggin
4                                                     CAROLYN M. WIGGIN
                                                      Assistant Federal Defender
5                                                     Attorney for Movant-Defendant
                                                      DELESHIA MONET GILBERT
6
7
      DATED: June 19, 2018                            McGregor W. Scott
8                                                     United States Attorney

9                                                     /s/ Michele M. Beckwith
                                                      MICHELE M. BECKWITH
10                                                    Assistant U.S. Attorney
                                                      Attorney for Respondent-Plaintiff
11
                                                      UNITED STATES OF AMERICA
12
13                                                    ORDER
14           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
15    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
16    its order. Objections to the Magistrate Judge’s Findings and Recommendations, which are now
17    due no later than July 2, 2018, shall be due no later than August 1, 2018.
18           IT IS SO ORDERED.
19
20    Dated: June 21, 2018                            ________________________________
21                                                    HON. EDMUND F. BRENNAN
                                                      United States Magistrate Judge
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       Stipulation and Order to Extend Time to File     -2-
       Objections to Findings and Recommendations
